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 8                        United States District Court

 9                       Eastern District of California

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12   United States of America,

13              Plaintiff,              No.    02-479 GEB

14        vs.                           Detention Order (Violation of
                                        Pretrial Release, Probation or
15   Victor Boral Tollestrup,           Supervised Release)

16              Defendant.

17                                     -oOo-

18          X         After a hearing pursuant to 18 U.S.C. § 3148
                      (violation of pretrial release order), the court
19                    finds:

20                           There is probable cause to believe the person
                             has committed a federal, state or local crime
21                           while on release and the defendant has not
                             rebutted the presumption that his release will
22                           endanger another or the community or

23                           There is clear and convincing evidence that
                             the defendant has violated another condition
24                           of release and

25                           based on the factors set forth in 18 U.S.C. §
                             3142 (g) there is no condition or combination
26                           of conditions of release that will assure that
                             the defendant will not flee or pose a danger
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 1                          to the safety       of   another   person   or   the
                            community or
 2
                   x        the person is unlikely to abide by any
 3                          condition or combination of conditions of
                            release.     F.R.Cr.P. 32.1(a)(D),46(c), 18
 4                          U.S.C. § 3148.

 5                     Pursuant to F.R.Cr.P.32.1(a) and 46(c) and 18
                       U.S.C. § 3143 (violation of probation or supervised
 6                     release) the court finds defendant has not met his
                       burden of establishing by clear and convincing
 7                     evidence that he will not flee or pose a danger to
                       another person or to the community.
 8
          IT IS ORDERED that pursuant to 18 U.S.C. § 3142(I)(2)(4)
 9   defendant is committed to the custody of the Attorney General for
     confinement in a corrections facility separate, to the extent
10   practicable, from persons awaiting or serving sentences or being
     held in custody pending appeal. The defendant shall be afforded
11   reasonable opportunity for private consultation with his counsel.
     Upon further order of a court of the United States or request of an
12   attorney for the United States the person in charge of the
     corrections facility in which defendant si confined shall deliver
13   defendant to a United States Marshal for the purpose of an
     appearance in connection with a court proceeding.
14

15        Dated:   June 27, 2005.

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17                                                   /s/ Peter A. Nowinski
                                                       Peter A. Nowinski
18                                                     Magistrate Judge

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